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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------X
 UNITED STATES OF AMERICA,
                                                               MEMORANDUM & ORDER
                  v.                                              04-CR-1016 (NGG)

 RONELL WILSON,

                            Defendant.
 --------------------------------------------------X
 GARAUFIS, District Judge.

         A jury has found Ronell Wilson (“Wilson”) guilty of two counts of murder in aid of

 racketeering, two counts of robbery conspiracy, one count of attempted robbery, one count of

 carjacking, two counts of causing death through use of a firearm, and two counts of using a

 firearm in furtherance of crimes of violence. These charges were based on, inter alia, Wilson’s

 March 10, 2003 execution of undercover New York City Police Department Detectives Rodney

 Andrews and James Nemorin, whom he was attempting to rob of the $1,200 they planned to use

 to purchase a firearm from Wilson and his fellow members of the Stapleton Crew street gang.

 (See Order dated January 9, 2007 at 3-7.) The Government is seeking the death penalty against

 Wilson in a penalty phase that began on January 16, 2007. The Government concluded its case-

 in-chief on January 18, 2007. Wilson’s case-in-chief will begin on January 22, 2007

         Wilson has moved the court for permission to read a statement of remorse to the jury,

 which will determine whether or not he is sentenced to death, without being sworn in or cross-

 examined. For the reasons set forth below, that motion is GRANTED in part and DENIED in

 part.




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        During the penalty phase, “information may be presented as to any matter relevant to the

 sentence, including any mitigating or aggravating factor permitted or required to be considered

 under [18 U.S.C.] section 3592.” 18 U.S.C. § 3593(c). Section 3592(a) lists seven mitigating

 factors and permits a defendant to introduce proof of “[o]ther factors in the defendant’s

 background, record, or character or any other circumstances of the offense that mitigate against

 imposition of the death sentence.” 18 U.S.C. § 3592(a)(8).

        Wilson intends to prove, pursuant to 18 U.S.C. § 3592(a)(8), that he “has remorse for his

 actions on March 10, 2003.” (Wilson Ltr. to Judge Garaufis dated Dec. 1, 2006 at 2 (filed under

 seal).) Before the penalty phase commenced, he indicated that he intended to prove his remorse

 via an unsworn, un-cross-examined allocution. (Wilson Ltr. to Judge Garaufis dated Jan. 7, 2007

 (filed ex parte and under seal) (“January 7 Letter”1); Wilson Br. dated Jan. 7, 2007 (filed under

 seal).) The Government moved this court to preclude Wilson from doing so. (Govt. Ltr. to

 Judge Garaufis dated Jan. 11, 2007 (filed under seal).) The court denied that motion and ruled

 that Wilson would be permitted to allocute2 as to his remorse provided that he accepted and

 complied with certain preconditions, including that his allocution would consist of the brief

 statement of remorse articulated in the January 7 Letter. (Order dated Jan. 12, 2007 (“January 12




        1
          Wilson submitted two letters dated January 7, 2007 regarding remorse. I will use the
 phrase “January 7 Letter” to refer to the later-submitted of the two, which contains a question-
 and-answer colloquy. The earlier of these two letters contained a cursory description of Wilson’s
 intended allocution and was deemed insufficiently specific by this court.
        2
           As used in this Memorandum and Order, the term “allocute” refers to a defendant orally
 presenting an unsworn, un-cross-examined statement to a sentencing jury before it determines his
 sentence.

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 Order”) at 3.) That brief statement expressed that Wilson is sorry for the pain he has caused the

 families of Detectives Andrews and Nemorin.

         On January 16, 2007, Wilson wrote a new letter to the court (the “January 16 Letter”).

 The January 16 Letter, which was handwritten by Wilson, expresses (1) that the Assistant United

 States Attorneys prosecuting this case are wrong to characterize Wilson as remorseless; (2) that

 after watching Detective Andrews’ sixteen-year-old son Christian testify, Wilson feels remorse

 and sorrow for the families of Detectives Andrews and Nemorin; (3) that Wilson’s life has been

 difficult; (4) that if Wilson is not sentenced to death, he will, while imprisoned3, respect others

 and their belongings; and (5) that Wilson would like the opportunity to counsel children not to

 engage in a life of crime. Wilson has moved the court for permission to read the January 16

 Letter to the jury (rather than the statement contained in the January 7 Letter) without being

 sworn in or cross-examined.4 (See Wilson Ltr. to Judge Garaufis dated Jan. 19, 2007 (filed under

 seal).) The Government opposes Wilson’s motion.

         In permitting Wilson to allocute as described in the January 7 Letter, this court observed

 that “[i]t is not clear whether a capital defendant has a constitutional right to allocute to his

 remorse, and several federal courts have held that he does not.” (January 12 Order at 2 (citing

 United States v. Purkey, 428 F.3d 738, 760-61 (8th Cir. 2005); United States v. Barnette, 211

 F.3d 803, 820 (4th Cir. 2000); United States v. Hall, 152 F.3d 381, 391-98 (5th Cir. 1998)).) “In


         3
           Wilson will receive a sentence of life imprisonment without the possibility of release if
 the jury does not recommend a sentence of death.
         4
            Although the January 16 Letter was filed under seal, this court will refer to the contents
 of that letter in this Memorandum and Order. Defense counsel read a portion of the letter aloud
 in open court, which the court deems to be a constructive publication of the letter. In addition,
 the court finds it necessary to identify the components of the letter in order to decide this motion.

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 addition,” this court observed, “the Second Circuit has held in a non-capital case that ‘a

 defendant’s right to a sentencing allocution is a matter of criminal procedure and not a

 constitutional right.’” (January 12 Order at 2 (citing United States v. Li, 115 F.3d 125, 132-33

 (2d Cir. 1997)).)

        The court does not believe that Wilson has a constitutional right to allocute to his

 remorse. Wilson argues such a right was recognized in Lockett v. Ohio, 438 U.S. 586 (1978).

 The court disagrees. In Lockett, the Supreme Court found that Ohio’s death penalty statute

 violated rights guaranteed by the United States Constitution because it limited a sentencing

 judge’s consideration of mitigating factors to three enumerated factors.5 Lockett at 593-594. In

 finding that statute unconstitutional, the Court held that “the Eighth and Fourteenth Amendments

 require that the sentencer, in all but the rarest kind of capital case, not be precluded from

 considering, as a mitigating factor, any aspect of a defendant’s character or record and any of the

 circumstances of the offense that the defendant proffers as a basis for a sentence less than death.”

 Id. at 605 (footnotes omitted; emphasis in original). Lockett would be relevant to Wilson’s case

 if the Government had argued that Wilson should not be permitted to prove his remorse at all. It

 has not. Instead, the Government objects to Wilson’s intent to allocute, rather than to testify, in

 support of this mitigating factor. Lockett does not hold or suggest that Wilson has a right to

 allocute.




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           Those factors were (1) that the victim had induced or facilitated the offense, (2) that it
 was unlikely the defendant would have committed the offense but for the fact that she was under
 duress, coercion, or strong provocation, and (3) that the offense was primarily the product of the
 defendant’s psychosis or mental deficiency. Lockett at 593-594.

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        This court nevertheless ruled, and continues to believe, that because Fed. R. Crim. P.

 32(i)(4)(A)(ii) permits both capital and non-capital defendants to allocute to a judge prior to

 sentencing, and because in this case it is the jury and not the judge who will determine Wilson’s

 sentence, it would be unjust to deny Wilson’s motion to allocute to the jury. (January 12 Order at

 2-3.) The court based its decision to permit Wilson to allocute on his acceptance of certain

 preconditions, including that the allocution consist of the statement set forth in the January 7

 Letter. These preconditions were necessary because this court is obligated (1) to exclude

 information from the penalty phase “if its probative value is outweighed by the danger of creating

 unfair prejudice, confusing the issues, or misleading the jury,” 18 U.S.C. § 3593(c), and (2) to

 permit the Government “to rebut any information received at” the penalty phase and to provide

 the Government “fair opportunity to present argument as to the adequacy of the information to

 establish the existence of any . . . mitigating factor[.]” 18 U.S.C. § 3593(c). (Id. at 3-4.)

        The court remains convinced that the allocution set forth in the January 7 Letter is

 appropriate. It is appropriate not because Wilson has any right to allocute – he does not – but

 because his own words are the best evidence he can provide on the particular issue of his

 remorse. Furthermore, although swearing Wilson in and subjecting him to cross-examination

 would be the most effective way to permit the Government “to rebut any information received”

 regarding remorse and to provide the Government “fair opportunity to present argument as to the

 adequacy of the information to establish the existence of” remorse, 18 U.S.C. § 3593(c), the

 court believes that the Government has other means of rebutting Wilson’s purported remorse.6


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           For example, the Government can refer the jury to song lyrics Wilson wrote shortly
 after executing Detectives Andrews and Nemorin, which were introduced into evidence in the
 trial phase of this case, in which Wilson appears to brag about his actions.

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        The same cannot be said of the other issues Wilson addresses in the January 16 Letter.

 This court cannot permit Wilson to allocute – as opposed to testifying under oath and subject to

 cross-examination – about (1) any arguments raised by the Assistant United States Attorneys

 prosecuting this case (other than their argument that Wilson lacks remorse for murdering

 Detectives Andrews and Nemorin); (2) the testimony of any witnesses, including members of the

 victims’ families (who were sworn in and subject to cross-examination); (3) difficulties he

 encountered during his life; (4) how he will comport himself if he is imprisoned rather than

 sentenced to death; or (5) his purported desire to counsel children not to engage in a life of

 crime.7 Wilson has myriad ways other than allocution – and other than his own sworn testimony,

 for that matter – to introduce information regarding these subjects.

        In seeking to allocute as to these subjects, Wilson ignores the most fundamental principle

 underlying Lockett, which is that “th[e] qualitative difference between death and other penalties

 calls for a greater degree of reliability when the death sentence is imposed.” Lockett, 438 U.S. at

 604 (citation and quotation marks omitted). While this need for reliability gives rise to a right to

 present all mitigating factors bearing on sentencing, including remorse, it counsels against

 presenting any of those factors, even remorse, via an allocution, which is an inherently unreliable

 medium. While it may be tempting to leave to the jury the task of deciding what portion, if any,

 of Wilson’s allocution it should believe, the court cannot, in its role as a gatekeeper, permit the

 jury to consider Wilson’s words regarding a variety of subjects now at issue without also


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            That Wilson would seek to raise this final subject without being subject to cross-
 examination is troubling in light of telephone conversations he conducted while in prison,
 between two and five days prior to jury selection, in which he directed a nephew of his to
 retaliate against someone who had assaulted the nephew and directed another person to
 accompany the nephew and assault cohorts of the nephew’s intended victim.

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 permitting the jury to hear him justify his words in response to Government cross-examination

 regarding those subjects. If Wilson wishes to inform the jury in his own words about the issues

 identified in the previous paragraph, he may do so by taking the witness stand, swearing to tell

 the truth, answering questions posed by his lawyers, and answering the Government’s questions

 on cross-examination.

        For the foregoing reasons, Wilson’s motion is GRANTED in part and DENIED in part.

 Wilson may allocute as to his remorse as set forth in the January 7 Letter. He may not, however,

 read the January 16 Letter to the jury. If he wishes, he may submit to the court, under seal and ex

 parte, yet another statement of remorse and request permission to read the new statement as his

 allocution. The new statement may consist of a redacted version of the January 16 Letter, i.e., a

 version omitting statements regarding the prohibited subjects identified by this court. Any

 allocution must satisfy the following preconditions:

        First, Wilson’s allocution will consist of the statement set forth in the January 7, 2007

 Letter or, if a new letter is submitted and approved by this court, the statement set forth in that

 new letter. Any deviation from the contents of a letter approved by this court may cause the

 court to issue corrective instructions to the jury and any other remedy the court deems to be in the

 interests of justice. In particular, the court notes that it would be inappropriate for Wilson to

 comment on evidentiary issues in an unsworn, un-cross-examined allocution.

        Second, the allocution must be limited to the subject of Wilson’s remorse. Wilson may

 not address, via allocution, any arguments raised by the Assistant United States Attorneys

 prosecuting this case (other than their argument that Wilson lacks remorse for murdering

 Detectives Andrews and Nemorin); the testimony of any other witnesses in this case, including


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 members of the victims’ families; the difficulties he may have encountered during his life; how

 he will comport himself if he is imprisoned rather than sentenced to death; his purported desire to

 counsel children not to engage in a life of crime; or any other evidentiary issues (other than his

 remorse).

        Third, Wilson will read his allocution to the jury from the defense table.

        Fourth, during the court’s instructions as to the law, the court will instruct the jury (a)

 that it will be permitted to consider the allocution in finding whether Wilson has established the

 existence of remorse and (b) that it will be permitted to take into account that the allocution was

 unsworn and not subject to cross-examination.

        Fifth, Wilson must provide the Government a copy of the new allocution letter, if any, at

 least one day before he intends to read the allocution to the jury. This will permit the court to

 consider any appropriate Government motion as to Wilson’s allocution.

        Sixth, Wilson must inform the Government, at least one day before reading the allocution,

 of the day on which he intends to do so.

        Before Wilson may read his allocution to the jury, he must inform the court and the

 Government in writing, at least one day before he intends to read the allocution to the jury, that

 he accepts the aforementioned conditions.



 SO ORDERED.

 Dated: January 19, 2007                                  /s/ Nicholas G. Garaufis
        Brooklyn, N.Y.                                   NICHOLAS G. GARAUFIS
                                                         United States District Judge




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